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UN ITE D STA TE S DIS TR ICT CO
                                 YO RK
NO RT HE RN DIS TR ICT OF NE W


LIS A M. VA NC E,                                                      Civ il Action No. :
                               Plaintiff,                                             3:16-cv-1162 (MAD/DEP)
                                                                       CO MP LA INT
               v.

STE RL ING JEW EL ER S, INC.
                         Defendants.



                                                   tnett, Esq., complains of the Defend   ants and
        Pla inti ff, by her attorney, Peter M. Har

 alleges as follows:
                                                                  BY JU RY
                           PL AIN TIF F DE MA ND S TR IAL

                                  PARTIES AND JUR ISD ICT ION

                                                  r "M rs. Vance" or "Pl   ain tiff ') is a resident of the
  1.     The Plaintiff Lis a M. Vance (hereinafte
                                                                                      des at the
                                                k, United States of America, and resi
         County of Otsego , State of New Yor
                                                                                                    thern
                   add ress : 22 Pin e St., One ont a, NY 13820. Pla inti ff resides within the Nor
         following

          District of New York.
                                               ant Sterling Jewelers, Inc.    (hereinafter "Sterling" or
  2.      Upon information and bel ief, Defend
                                              wit h its prin   cipal office at 375 Ghent Road, Akron
          "Defendant") is an Ohio corporation
                                                                                              s.
                                                           York under the name of Kay Jeweler
          OH, 44333, which does business in New
                                                                                                 against
                      h belo w, Pla inti ff alle ges that the Defendant unlawfully discriminated
   3.     As set fort
                                                                                             ly, this
                                                        of 42 U.S.C. § 2002e-2(a). According
          her on the basis of her sex in violation
                                                     under 28 U.S.C. § 1331.
           Court has jurisdiction over this matter




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                                                                       Division of Human Rights and
4.          Plaintiff exhausted her remedies with the New York State
                                                                            on ("EEOC"), and received a
            the United States Equal Employment Opportunity Commissi
                                                                     2016. A copy of that letter is
            "right to sue" letter from the EEOC on or about June 26,

            attached hereto and made a part hereo f as Exhi bit A.

            Plaintiff is an "employee" within the meaning of 42 U.S.C
                                                                       . § 2000e(f).
5.
                                                                     . § 2000e(b).
6.          Defendant is an "employer" within the meaning of 42 U.S.C
                                                                        meaning of 42 U.S.C. §
7.          Defendant is engaged in "interstate commerce" within the

            2000e(g).
                                                                          es and common law   of the State
 8.         Plaintiff also raises related claims arising under the statut
                                                                        those claim     s under 28
             of New York. This Court has supplemental jurisdiction over

             U.S.C. § 1367.

                              AS AND FOR A FIRS T CAU SE OF ACTION:

                                                                         Sales Associate at its Kay
 9.          On June 30, 2012 , Sterling hired Mrs. Vance as a full-time
                                                                     time, she had sixteen years of
             Jewelers store in Southside Mall in Oneonta, NY. At the
                                                                           ry sales. She was promoted
             experience in retail sales, fourteen of which were in jewel
                                                                          was the only female
             about a year later to the position of Assistant Manager. She

             Assistant Manager at that location.
                                                                             store Manager, Bryan
     10.      Mrs. Vance' s immediate supervisor in that position was the
                                                                       District     Manager Mohammed
              Gulnac. The store was one often under the supervision of

              Sharif.
                                                                      other female employees were
      11.     During her employment with Sterling, Mrs. Vance and the
                                                                           their sex. Male employees were
              routinely subjected to disparate treatment on the basis of

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                                                           employees, and were allowed to leave
        allowed to take more frequent breaks than female
                                                           loyees were not.
        the store during work hours when the female emp
                                                              ing and attention from Mr. Gulnac
12.     Male employees were also given more quality train

        than female employees.
                                                       e also suffered from a hostile work
13.     During her employment with Sterling, Mrs. Vanc
                                                         nely and knowingly made sexual
        environment because of her sex. Mr. Gulnac routi
                                                      . For example, he would make comments
        comments that made Mrs. Vance uncomfortable
                                                        ence about female customers in the mall ,
        to Mrs. Vance and to male employees in her pres
                                                               ring to "asses and boobs," and how he
         calling attention to short skirts and low tops, refer
                                                           ge in discussions with male employees
         would like to "get in their pants." He would enga
                                                           unters,   and make reference to "dingle
         in Mrs. Van ce's presence about their sexual enco
                                                         walked by the store.
         berries" and wanting to "tap that" when females
                                                           nst     on the basis of her sex when she
 14.     Mrs. Vance was also unlawfully discriminated agai

         was denied a promotion.
                                                            ed to a different store. Mrs. Vance
 15.      In July of 2015 , Mr. Gulnac was promoted and mov
                                                              David Bucey.
          applied for his position, as did a male employee,
                                                              tion, according to the Defendant, were
  16.     The minimum requirements for the Manager posi
                                                                ond certification. Mrs. Vance met
          at least a year of managerial experience and a diam

          those qualifications, while Mr. Bucey did not.
                                                                     Vance was falsely accused by the
  17.     In August of 2015, before that position was filled, Mrs.
                                                              k was returned for insufficient funds.
          Defendant of misconduct after a cust ome r's chec
                                                              with regard to acceptance of the check.
           She had complied with Defendant's procedures

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                                                                              any representation. She
       Never theless , she was subjec ted to hours of interro gation withou t

                                                                            dant. After her
       was then unlaw fully termin ated from her emplo yment with the Defen

                                                                             n.
       termin ation, Defen dant hired Mr. Bucey to fill the Manag er positio

                                                                                g Mrs. Vance a
18.    The false allega tion of misco nduct was, in fact, a pretex t for denyin

                                                                              ation of her
        promo tion in favor of a less qualified male emplo yee and for termin

        emplo yment on the basis of her sex.

                         AS AND FOR A SECOND CAUS E OF ACTION

                                                                                  on of Article 15 of
19.     The aforem ention ed discrim inatory condu ct also consti tuted a violati

        the New York State Huma n Rights Law.

                                                                               suffered monet ary
20.     As a result of the forego ing discrim inatory condu ct, Mrs. Vance has

                                                                              ctiona l requir ement s
        and emotio nal damag es in an amoun t exceed ing any minim wn jurisdi

        of this Court.

                                                                                  in the form of
        WHER EFOR E, Plaint iff deman ds judgm ent agains t the Defen dant
                                                                  es of $1 ,000,0 00.00, togeth er
compe nsator y damag es of $500,0 00.00 and puniti ve money damag

                                                                           other and furthe r relief the
 with attorne y fees, costs and disbur semen ts, in additio n to whate ver

 Court deems approp riate.


                                                                ~ :~ji/J;t:f ~~                            ··---
 Dated: Septem ber 22, 2016
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